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                   UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF NEW YORK

 IN RE: GENERAL MOTORS LLC
 IGNITION SWITCH LITIGATION
                                              Case No. 14-MD-2543 (JMF)
                                              Hon. Jesse M. Furman
 This Document Relates to the
 ,
 Plaintiff John Polomsky
 Edwards v. General Motors
 LLC, 14-CV-06924




        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

      The Plaintiff John Polomsky, by and through his undersigned counsel,

pursuant to Rule 41(a)(l)(A)(i) of the Federal Rules of Civil Procedure and the

Memorandum of Understanding entered into by the parties, hereby give notice of the

voluntary dismissal with prejudice of all actions, claims, and causes of action against

all General Motors LLC and all other defendants. Costs taxed as paid.

      General Motors LLC consents and stipulates to the dismissal with prejudice

of these plaintiffs’ actions.

                                 Respectfully submitted,

Dated: April 24, 2025             s/ Robert Hilliard
                                 HILLIARD LAW
                                 Robert C. Hilliard
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                                  -and-

                                  s/ Thomas Henry
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                                  Thomas Henry
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                                  Attorneys for Plaintiff


The Clerk of Court is directed to docket this on 14-CV-6924 and
14-MD-2543. The Clerk of Court is further directed to terminate
John Polomsky as Plaintiff in 4-CV-6924 and 14-MD-2543.

                           SO ORDERED.



                                                   April 25, 2025




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